               Case 1:19-cr-00286-ELH Document 648 Filed 08/14/20 Page 1 of 1



                                  United States District Court
                                     District Of Maryland
     Chambers of                                                                    101 West Lombard Street
Ellen Lipton Hollander                                                              Baltimore, Maryland 21201
  District Court Judge                                                                    410-962-0742



                                                  August 14, 2020



      Christopher Purpura, Esquire

             Re:     United States of America v. Daniel Blue
                     ELH-19-0286

      Dear Mr. Purpura:

             I received a letter from Mr. Blue, dated August 1, 2020. The letter is docketed at ECF
      636. Please take whatever steps you deem necessary to address Mr. Blue’s concerns.

                                                                 Sincerely,

                                                                     /s/
                                                                 Ellen Lipton Hollander
                                                                 United States District Judge

      cc:    Daniel Blue, #488800 K pool
             James Wallner, Esquire
              AUSA
             LaRai Everett, Esquire
              AUSA
